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7                         UNITED STATES DISTRICT COURT

8                        EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,             No. 2:13-CR-300-GEB
11                  Plaintiff,
12        v.                               ORDER DENYING DEFENDANT’S MOTION
                                           FOR REVOCATION OF THE MAGISTRATE
13   RICHARD HEMSLEY,                      JUDGE’S DETENTION ORDER
14                  Defendant.
15

16              Defendant Richard Hemsley moves for revocation of the

17   Magistrate Judge’s August 10, 2017 detention order, ECF No. 340,

18   arguing “[t]he U.S. Magistrate Judge’s finding that Mr. Hemsley

19   should be detained as a risk of non-appearance was incorrect.”

20   Def.’s Mot. to Revoke (“Def.’s Mot.”) 11:21–22, ECF No. 351.              The

21   United States of America (the “Government”) opposes Defendant’s

22   motion arguing, inter alia, “[Hemsley] has expressed his contempt

23   for this Court in writing, by refusing to obey its lawful orders,

24   . . . by failing to appear for his violation hearing, and [by]

25   failing   to   surrender    when   made   aware   of   this   Court’s   bench

26   warrant for that failure to appear.”         Gov’t Opp’n to Mot. (“Gov’t

27   Opp’n”) 2:5–8, ECF No. 353.           Defendant filed a reply and an

28   amended reply.     Reply, ECF No. 356; Am. Reply, ECF No. 357.            The
                                          1
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1    motion was heard on November 3, 2017.

2               18 U.S.C. § 3145(b) prescribes: “If a [defendant] is

3    ordered detained by a magistrate judge, the [defendant] may file

4    . . . a motion for revocation . . . of the order . . . .”                   In the

5    context of the District Court reviewing the Magistrate Judge’s

6    detention order, the Ninth Circuit explained the meaning of the

7    “de novo” standard in United States v. Koenig, 912 F.2d 1190,

8    1193 (9th Cir. 1990), stating:

9               Clearly, the district court is not required
                to start over in every case, and proceed as
10              if the magistrate’s decision and findings did
                not exist. The district court . . . should
11              review the evidence before the magistrate and
                make   its    own   independent    determination
12              whether    the    magistrate’s   findings    are
                correct,    with    no    deference.    If   the
13              performance    of   that   function   makes   it
                necessary or desirable for the district judge
14              to hold additional evidentiary hearings, it
                may do so, and its power to do so is not
15              limited to occasions when evidence is offered
                that was not presented to the magistrate.
16
     Id. (citation omitted).
17
                18 U.S.C. § 3142(b) prescribes in pertinent part: “The
18
     judicial   officer       shall   order       the   pretrial   release   of     the
19
     [defendant], . . . unless the judicial officer determines that
20
     such release will not reasonably assure the appearance of the
21
     [defendant] as required . . . .”              The Government has the “burden
22
     of   showing,   by   a   preponderance        of   the   evidence,   that    [the]
23
     factors” in § 3142(g), which are required to be considered when
24
     making the release determination, reveal “that no condition or
25
     combination of conditions will reasonably assure that [Defendant]
26
     will voluntarily appear.”          United States v. Santos-Flores, 794
27
     F.3d 1088, 1093 (9th Cir. 2015) (citations omitted).
28
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1               Defendant argues as follows that he should be released

2    on his own recognizance based on his history of appearing, and

3    that his failure to appear on April 5, 2017, was the result of

4    him “misplacing his [cellular] phone”:

5               Mr.   Hemsley   made   a  number   of   court
                appearances    in    this  case,    including
6               participation in an entire jury trial. He is
                in custody because of a positive test for
7               Marijuana, for missing a court date due to
                misplacing his phone for a few days during a
8               critical time, and for trying to have the
                warrant recalled without going into custody
9               (as is the custom in many situations in state
                court). By [the November 3, 2017 Hearing],
10              Mr. Hemsley will have been in custody for
                more than [5] months. Mr. Hemsley realizes
11              the importance of complying with all of his
                conditions of release, and, if released, he
12              will take the necessary steps to avoid this
                situation in the future.
13
     Def.’s Mot. 11:22–12:2.     Defendant also argues:
14
                On January 6, 2014, Mr. Hemsley made his
15              initial   appearance  in    this  case . . . .
                [Following the] April 8, 2014 . . . violation
16              petition alleging that Mr. Hemsley tested
                positive for Marijuana[,] . . . Mr. Hemsley
17              attended court during 2014 [in compliance
                with] his condition of release to attend
18              Better Choices . . . . Mr. Hemsley returned
                to court on May 19, 2015, June 16, 2015, July
19              21, 2015, August 18, 2015, September 15,
                2015, October 13, 2015, November 17, 2015,
20              December 15, 2015, January 19, 2016, February
                16, 2016, [and] March 15, 2016, with overall
21              positive reports concerning his release from
                custody and his participation in the Better
22              Choices program . . . . On May 17, 2016, Mr.
                Hemsley attended court, and graduated from
23              the Better Choices program. He attended the
                program for a year, and made several court
24              appearances between May 2015, and May 2016,
                in order to successfully graduate from this
25              program . . . .    On July    15,  2016,   the
                defendant made an initial appearance at the
26              revocation       of      pretrial      release
                hearing . . . . On January 27, 2017, the
27              defendant appeared at his Trial Confirmation
                Hearing (TCH) . . . . On May 31, 2017, Mr.
28              Hemsley was arrested without incident by the
                                      3
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1               United States Marshals Service as he was
                picking   up  his  mail  from   his  mailing
2               address . . . . [At his Bail Review Hearing,
                o]n August 10, 2017, the . . . Magistrate
3               Judge . . . did not find that he was a
                danger, or a flight risk, but found that he
4               is a risk of non-appearance (8/10/2017 RT
                6:23).
5
     Def.’s Mot. 3:6, 3:11–15, 4:3–7, 4:14–15, 4:21–22, 5:2–3, 8:16–
6
     17, 10:4–11.
7
                The    Government    counters    that   Defendant’s     repeated
8
     refusals to abide by the Court’s orders and by Pretrial Services’
9
     directives favor Defendant’s continued detention.          The Government
10
     further argues:
11
                On February 27, 2017, Hemsley again tested
12              positive for marijuana. (ECF No. 294).
                Hemsley received [an email] notice of the
13              April   5[,2017]   hearing   [concerning   his
                violation of his conditions of pretrial
14              release. Hemsley] responded to the email[,]
                (ECF No. 336, Exh. A)[ on March 30, 2017,
15              and] Hemsley asserted that pretrial release
                was an “unlawful form of probation,” . . .
16              and concluded by explaining that “PTS [] in
                conjunction with the Magistrates constitutes
17              a terrorist organization” and that he “will
                NOT bargaiin [sic] with terrorists.” (See
18              id.).    Hemsley’s   [then-]standby    counsel
                indicated [counsel’s] unavailability by phone
19              for 9:15 on April 5, but [that counsel] could
                appear at 2 p.m. the same day or on April 7,
20              2017. (See id.) The hearing was re-set for
                the same date (April 5) at 1 p.m., but . . .
21              Hemsley did not appear.

22                   Hemsley claims he lost access to his
                email in the days between April 3, 2017, and
23              the hearing on April 5. He knew that the
                hearing was set for 9:15 on April 5, and that
24              there was some doubt as to whether it would
                be rescheduled. But Hemsley never attempted
25              to call the Court, his standby counsel, the
                U.S. Attorney’s Office, or Pretrial Services.
26              Hemsley claims that he received notice by
                mail—the same notice he received by email and
27              replied to—on the day of the hearing. But
                again, he failed to call the Court, the U.S.
28              Attorney’s Office, Pretrial Services, or
                                          4
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1              (apparently) even his standby counsel. When
               Hemsley failed to appear, [the Magistrate]
2              Judge . . . issued a bench warrant for his
               arrest. (ECF No. 299). In a letter to [the
3              District]   Court,  mailed   April  5th   and
               apparently written before the 1 p.m. hearing
4              that day, Hemsley did not explain his absence
               or state that he lost his phone. (ECF No.
5              301). Rather, he asserted that he needed
               marijuana for medical purposes, and that he
6              began to “slowly immerse” himself in the same
               “healing regimen” that he had previously
7              used—an obvious reference to marijuana. (ECF
               No. 301 at 3) . . . .
8
               . . . .
9
                    . . . Hemsley[] failed to appear at the
10             Court-ordered   April    5,   2017,   hearing
               scheduled    to   consider    his   continued
11             violations of his pretrial release conditions
               by his use of marijuana products. While
12             Hemsley claims that he was not aware of his
               obligation to appear at the April 5th hearing
13             date, the Court should reject this false
               claim. Hemsley knew there was a court-ordered
14             hearing on April 5 (See ECF No. 336, Exh. A),
               and though there was uncertainty as to
15             whether the hearing time or date might be
               moved, he failed to take even the simples[t]
16             steps to ensure his appearance. Hemsley never
               attempted to call the Court, his standby
17             counsel, the U.S. Attorney’s Office, or
               Pretrial Services, any of whom could have
18             informed the Court as to Hemsley’s absence
               and taken appropriate steps.
19
                    In addition, Hemsley’s intent to avoid
20             the court appearance is reflected in his
               refusal to self-surrender to the United
21             States Marshals Service despite receiving
               warnings from both Pretrial Services Officer
22             and the Assistant U.S. Attorney. (See ECF No
               336, Exhs. B-D). Hemsley[] has previously
23             admitted that he ignored the order to appear,
               explaining that he was “looking for a little
24             more   time”  to   attend   to  his  business
               interests.   (ECF   No.   323  at   9:15-17).
25             Moreover, Hemsley has produced nothing in
               support of his claim that he was locked out
26             of his email, and did not raise this issue in
               his letter to this Court on the date of the
27             hearing. (ECF No. 301). Instead, he decried
               the perceived injustice of this prosecution.
28             In view of Hemsley’s past willingness to say
                                         5
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1                virtually anything to avoid custody, and in
                 view of the lack of any admissible evidence
2                in support of his claim, the Court should not
                 credit Hemsley’s claim that he lost his
3                phone. Either way, a defendant should not be
                 permitted to flout this Court’s orders and
4                procedures,   and   avoid  the   consequences
                 thereof.
5
                      Finally, Hemsley is facing significant
6                jail time if convicted and admitted the
                 offense conduct in a recorded interview. He
7                thus has a strong motivation to avoid
                 incarceration, and has recently acted on that
8                motivation   by   ignoring  [the  Magistrate]
                 Judge[’s] bench warrant and refusing to
9                surrender   himself.   This  is  part   of  a
                 disturbing trend of contumacy—Hemsley has
10               grown more and more bold in his rejection of
                 this Court’s legitimacy and in the assertion
11               of what he believes are his “God-given right
                 to use cannabis” and his “human right” to use
12               marijuana. The Court should not encourage his
                 escalating confrontation, but should order
13               him detained to ensure that he appears at
                 trial . . . .
14
     Gov’t Opp’n 4:11–5:5, 12:14–13:11 (footnote omitted).
15
                 The Magistrate Judge stated at Defendant’s Bail Review
16
     Hearing on August 10, 2017, as follows: the detainment issue is
17
     “to   determine   whether   or    not    [Defendant     i]s   a   risk    of   non-
18
     appearance[; whether] he’s a risk of flight . . . [i]s not the
19
     inquiry at this point.”       Tr. Bail Review Hearing, Aug. 10, 2017
20
     (“Aug. 10 Tr.”) 7:21–25, ECF No. 350. The Magistrate Judge made
21
     the   following   observations         and   findings     after   hearing      oral
22
     arguments   and   reviewing      the    record,   which    included      “multiple
23
     Pretrial Services[’] reports”:
24
                      It appears to me that Mr. Hemsley has
25               appeared   in   front   of   [almost]   every
                 magistrate judge in this courthouse and what
26               [i]s interesting is that I have not been
                 alone in trying to figure out a way to get
27               Mr. Hemsley to recognize that he . . . was in
                 control of his destiny because a number of
28               the magistrate judges released him after
                                              6
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1              finding him in violation,          keeping   him   in
               [custody] for a while.
2
                    Mr. Hemsley would then have a change of
3              heart about whatever caused the violation. He
               would apologize for, for example, use of MDMA
4              or use of marijuana, apologize for lying
               about it to [the Pretrial Services Officer],
5              apologize for lying about it to the Court. He
               would express his regret and willingness to
6              follow   the  conditions   of   the  Pretrial
               Services [O]fficer.
7
                    And then, like me, other magistrate
8              judges thought [Mr. Hemsley] now understands
               the seriousness of the situation, let’s try
9              this again and each and every one of us has
               been wrong. Each and every one of us thought
10             that Mr. Hemsley at that time understood that
               he had to comport himself with the [release]
11             conditions of Pretrial Services . . . and the
               Court’s orders and he didn’t.
12
               . . . .
13
                    . . . I’m very reluctant to overrule
14             [the   Pretrial   Services  Officer]   who’s
               obviously spent hundreds of hours working on
15             this and order his release.

16             . . . .

17                  Probably the root of the problem is that
               [Mr. Hemsley has] not been honest with
18             himself, but it manifests with his lack of
               honesty with the Court, the lack of honesty
19             with Pretrial Services and apparently the
               lack of honesty with people that are willing
20             to help him . . . .
21             . . . .

22                  I completely understand and I accept his
               sincerity at this moment. But I’ve accepted
23             his sincerity in the past, as had the other
               magistrate judges, and whether or not he’s
24             sincere at the moment he’s sitting in the
               custody of the Sacramento County Jail or
25             Nevada County Jail doesn’t seem to translate
               to when he has to do what the Court has
26             ordered him to do.
27                  [The Pretrial Services Officer] has done
               absolutely everything I can imagine. Mr.
28             Hemsley has rejected help. Mr. Hemsley has
                                         7
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1              avoided help . . . .

2                   So there are no conditions that appear
               to be able to be set that Mr. Hemsley will
3              respect enough to stay out of trouble and in
               compliance with the Court’s directives. I
4              candidly think that’s a shame, and obviously
               the other magistrate judges have thought
5              that’s a shame too because Mr. Hemsley may
               indeed have much to offer his community when
6              he decides that he’s going to comport with
               societal norms, and more specifically with
7              the norms that are being set for him by this
               Court.
8
                    But my obligation is to determine
9              whether or not he’s a risk of non-appearance.
               He’s shown himself to be a risk of non-
10             appearance. The marshals had to go get him. I
               don’t think he’s a risk of flight, but that’s
11             not the inquiry at this point. He is a risk
               of non-appearance because he decides when and
12             where he wants to be unless he is brought
               somewhere when he is needed.
13
               . . . .
14
                     [The Pretrial Services Officer] remains
15             willing,   if    ordered by  the   Court,   to
               supervise Mr. Hemsley which is a great
16             testament     to    [the  Pretrial    Services
               Officer]’s professionalism. But in two weeks
17             I haven’t been able to think of anything that
               I can impose that will reasonably assure the
18             Court of Mr. Hemsley’s appearance at future
               court proceedings.
19
                    Monetary sanctions haven’t worked -- or
20             monetary promises haven’t worked. Counseling
               hasn’t worked. Medication hasn’t worked.
21             Lawyers haven’t worked. It just -- you’ve
               used every tool in our toolbox, Mr. Hemsley.
22             There’s nothing left that I can think of.

23             . . . .

24                  All right. I believe you, Mr. Hemsley,
               that you are absolutely sincere at this
25             moment that you are willing to abide by any
               conditions I set, but history has shown us
26             that your sincerity fades dramatically once
               you are released from custody.
27
                    So I do find at this time that there are
28             no conditions or combinations of conditions
                                         8
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1                  that can reasonably assure your appearance at
                   future court proceedings. I deny your motion
2                  for bail review and remand you to the custody
                   of the marshals.
3
     Aug. 10 Tr. at 3:1–23, 4:5–7, 6:1–5, 6:24–8:18, 9:4–13.
4
                   The Pretrial Services Officer recommends that Defendant
5
     remains in custody.          The Pretrial Services Officer states in the
6
     Pretrial Services Report, dated October 20, 2017 (“PTS Report”):
7
     Defendant      has   “an   unwillingness       or    inability    to   comply     with
8
     pretrial      services[’]    directives,       the    Court’s    orders,    and   the
9
     imposed conditions of release . . . . Pretrial Services continues
10
     to believe the defendant has demonstrated he is not amendable to
11
     supervision[ and he is] a risk of non-appearance.”                     PTS Report,
12
     Mem.   July    27,   2017,    at   3–4.       The    Pretrial    Services   Officer
13
     supports his concerns with the following information in the PTS
14
     Report:
15
                        Following    the    February   27,    2017,
16                 positive drug test for Cannabinoids/Marijuana
                   (THC), . . .     Pretrial      Services      was
17                 unsuccessful in reaching Mr. Hemsley by
                   telephone[.] On [March 20, 2017] . . . , Mr.
18                 Hemsley   emailed    the   [Pretrial    Services
                   O]fficer and noted he was at a cellular
19                 telephone repair shop to fix his cellular
                   telephone’s “microphone.”
20
                        In light of the difficulty in reaching
21                 the defendant via his cellular telephone,
                   Pretrial   Services    primarily   maintained
22                 communication with Mr. Hemsley via email.

23                      In   an   email  exchange   between  the
                   [Pretrial    Services   O]fficer    and   the
24                 defendant, Mr. Hemsley was advised he tested
                   positive for Cannabinoids/Marijuana (THC) and
25                 that a bail violation hearing would likely be
                   calendared to address his marijuana use on
26                 March 24, 2017.
27                      Mr. Hemsley’s email reply to this
                   notification was, “I am Not available on the
28                 specified date. I am available as stated
                                               9
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1              previously on the 31st. . . .”

2                   As reflected in the . . . Fourth Bail
               Violation Memorandum, dated April 5, 2017,
3              Mr. Hemsley emailed the [Pretrial Services
               Officer] an admission of marijuana/THC use
4              and stated he would not be present for a
               scheduled bail violation hearing.
5
                    On March 27, 2017, Mr. Hemsley again
6              tested   positive   for Cannabinoids/Marijuana
               (THC). On March 30, 2017, Pretrial Services
7              received    an   email    from . . .    defense
               counsel . . .,   advising    [counsel]  had   a
8              schedule     conflict      and     request[ing]
               consideration of another date or time for the
9              bail violation hearing.

10                   According to the Notice of Motion and
               Motion for Bail Review and Release on
11             Conditions, filed with the Court on June 19,
               2017,    Mr.  Hemsley  claims   his  cellular
12             telephone was temporarily misplaced on April
               3, 2017. He reportedly did not have access to
13             his email service, and he was “unaware” of
               the April 5, 2017, Bail Violation Hearing
14             held before [the] Magistrate Judge . . . .

15                  Pretrial Services would note that Mr.
               Hemsley was directed in writing to report via
16             telephone every Monday, and he was instructed
               to “notify your pretrial services officer
17             immediately   of  any   change  in   address,
               telephone or employment.” Mr. Hemsley failed
18             to report by telephone on Monday, April 3,
               2017, and he failed to report he “misplaced”
19             his cellular telephone.

20                  When [Mr. Hemsley] initially provided
               [his] reported explanation for his failure to
21             appear at the April 5, 2017, hearing,
               Pretrial Services responded by noting the
22             defendant was previously advised to expect a
               violation hearing and that Mr. Hemsley made
23             no effort to notify counsel or Pretrial
               Services of his lost phone, reported lack of
24             access to an email, or enquire as to the date
               of the bail violation hearing.
25
                    Given Mr. Hemsley’s statements via email
26             when advised of the pending bail violation
               hearing, and the lack of response to Pretrial
27             Services’   efforts    to   communicate   via
               telephone, Mr. Hemsley’s excuses do not
28             appear to be a reasonable explanation for his
                                         10
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1              failure to appear at the April 5, 2017, court
               proceeding.
2
                    Most disturbing to Pretrial Service is
3              the defendant’s refusal to surrender on the
               bench warrant or follow the directives of the
4              [Pretrial Services O]fficer following his
               failure to appear at the April 5, 2017, court
5              proceeding. On April 6, 2017, the [Pretrial
               Services O]fficer had an email exchange with
6              Mr. Hemsley, in which the defendant was told
               he had previously acknowledged an email from
7              defense counsel which included the bail
               violation hearing date.
8
                    In this April 6, 2017, email exchange
9              with   Mr.  Hemsley,   he  was   directed  to
               surrender himself either to Pretrial Services
10             or directly to the U.S. Marshals Service in
               Sacramento, California the morning of April
11             7, 2017, and that he would appear on the duty
               Magistrate[’s] calendar at 2:00 p.m. that
12             same day.

13                  Pretrial Services would also note the
               defendant reported he moved as of April 1,
14             2017, but failed to request permission to
               move in advance of his relocation to a new
15             residence and failed to provide the new
               address to Pretrial Services in a timely
16             manner.

17                  On   April   6,   2017, the   defendant
               responded to the email stating, “You’re
18             asking me to submit myself to harm? I have
               written a letter to [the District Judge] on
19             this case. I can not [sic] of good conscious
               allow harm to my family.”
20
                    Mr. Hemsley wrote a number of emails in
21             April 2017 noting his personal view of
               pretrial services supervision and stating
22             such beliefs as “This is a direct threat
               against my life,” “You threaten me with
23             bodily harm,” and accused the [Pretrial
               Services Officer] of making “death threats”
24             against him.

25                  The defendant failed to surrender on the
               outstanding bench warrant as directed by
26             Pretrial Services. Mr. Hemsley subsequently
               discontinued reporting to Pretrial Services.
27
                   In the June 9, 2017, Notice of Motion
28             and Motion for Bail Review and Release on
                                         11
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1              Conditions, the defendant stated he will
               “absolutely appear in Court at times when he
2              is ordered to do so,” he will abstain from
               marijuana use, and, “he will follow all
3              conditions of release.”

4                    However, in an April 21, 2017, email to
               Pretrial Services and defense counsel, Mr.
5              Hemsley stated his belief that pretrial
               services supervision is “probation before
6              conviction” and a direct violation of his
               basic human rights. In his email, Mr. Hemsley
7              accused the [Pretrial Services O]fficer of
               committing “perjury” and noted he wanted to
8              serve    “notice  of   cancellation  of   the
               unconscionable contract,” that being pretrial
9              services supervision and the Court imposed
               conditions of release.
10
                    Furthermore, for the reasons outlined in
11             this [Pretrial Services R]eport and the
               [Pretrial          Services          Officer’s]
12             reports/memorandums,     Mr.    Hemsley     has
               demonstrated   either   an   unwillingness   or
13             inability to comply with pretrial services
               directives, the Court’s orders, and the
14             imposed conditions of release.

15             . . . .

16                  Pretrial Services does not believe the
               defendant is amendable to supervision given
17             his statements regarding pretrial services
               supervision,   his   stated   intentions    of
18             continuing marijuana use while on pretrial
               supervision, and his refusal to respond to
19             directives to surrender himself on the bench
               warrant   from   his   supervising    pretrial
20             services officer following his failure to
               appear at the April 5, 2017, hearing.
21
                    Pretrial Services does not believe Mr.
22             Hemsley will abide by the orders of the Court
               or will comply with any imposed release
23             conditions in the future. As such, Pretrial
               Service respectfully recommends Mr. Hemsley
24             remain in the custody of the U.S. Marshals
               pending further proceedings.
25
     PTS Report, Mem. June 22, 2017, at 2–4.               Further, Defendant
26
     emailed Pretrial Services Officer on March 30, 2017, stating,
27
     inter alia:
28
                                         12
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1                    [The District] Judge . . . has shown his
                allegiance in the conspiracy to criminalize
2               and reap the financial rewards of unjust
                prosecution and imprisonment.
3
                     Your “Pre-trial” department is over
4               stepping the lawful bounds of a functional
                agreement.   (Congress acdeptable [sic] terms
5               are further proof of the deception and lies
                purported to be truth for the interest of the
6               public’s safety- German Nationalist Congress
                agreed with the elimination of the “Jewish
7               Problem” this is no more Lawful than the
                actions of a lowly burglar)
8
                . . . .
9
                     Pre-trial   is   nothing   short           of    a
10              grotesque human rights violation.

11   PTS   Report,   Mem.   Apr.   5,   2017,   at   4.   The   PTS   Report   also

12   contains an email sent from Defendant to his appointed standby

13   counsel, the Government, and Pretrial Services, stating:

14                   The unlawful demands of PTS [are] no
                different   that   [sic]   being   physically
15              violated by a sexual predator . . . .

16                   This matter can be quickly and easily
                resolved [by] using intelligent means of
17              written documentation and does NOT require my
                physical presence in any potentially harmful
18              situations.

19              . . . .

20                   . . . The PTS . . . in conjunction with
                the   Magistrates  constitute  a   terrorist
21              organization.

22                   I[]   will  NOT   bargaiin   [sic]           with
                terrorists. My rights will be observed.
23
                R;D-Hemsley
24              UCC1-308 All rights reserved w/o prejudice
                (all paperwork for PTS signed under durress
25
                [sic]   constituting a  faulty  contractual
26              agreement)
                Sui Juris
27
     PTS Report, Mem. Apr. 5, 2017, at 5–6 (emphasis in original).
28
                                           13
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1                The    record    shows         Defendant’s      blatant      and    persistent

2    failure to comply with appearance directives of Pretrial Services

3    and the Court.           The Ninth Circuit has explained, “the risk of

4    nonappearance      referenced         in    18    U.S.C.    § 3142      must    involve      an

5    element of volition.”             Santos-Flores, 794 F.3d at 1091 (citing

6    United States v. Trujillo–Alvarez, 900 F.Supp.2d 1167, 1176–78

7    (D.Or. 2012)).        Defendant’s recalcitrant attitude evincing his

8    past refusals to abide by appearance directives is made apparent

9    through his following statements: “I[] will NOT bargaiin [sic]

10   with terrorists” and “[t]his matter[’s] . . . resol[ution] . . .

11   does NOT require my physical presence in any potentially harmful

12   situations” in response to Pretrial Services’ notice of a court-

13   ordered appearance date for his hearing for violating pretrial

14   release conditions; and “[y]ou’re asking me to submit myself to

15   harm? . . . I can not [sic] of good conscious [sic] allow harm to

16   my family” in response to Pretrial Services’ directive to self-

17   surrender    based    on    the    court-ordered           warrant      for    his   arrest.

18   These    statements      evince       Defendant’s         vehement      volition     to     not

19   comply    with    such    appearance         directives,       unless     compliance         is

20   convenient for him.
21               Furthermore,         the       record    evinces      the    Court’s      waning

22   trust in Defendant’s willingness to comply with Court appearance

23   directives.       Defendant’s strong language of comparing the Court’s

24   and Pretrial Services’ exercise of pretrial release supervisory

25   authority    over    him    to    cause       him    to    feel   like     he   is    “being

26   physically    violated      by    a    sexual       predator”     conveys       a    lack    of
27   respect for judicial officials, which is further illustrated by

28   his characterization that “PTS . . . in conjunction with the
                                                  14
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1    Magistrates     constitute       a    terrorist      organization.”        Further,

2    Defendant’s signature block at the end of an email that he sent

3    to his appointed standby counsel, the Government, and Pretrial

4    Services,       which      stated:        “all      paperwork   for       PTS . . .

5    constitute[e] a faulty contractual agreement . . . Sui Juris,”

6    illustrates a denouncement of judicial authority with respect to

7    imposing      appearance     requirements.            The   Ninth    Circuit    has

8    explained that conditions of release “depend on [Defendant]’s

9    good faith compliance.”              United States v. Hir, 517 F.3d 1081,

10   1092 (9th Cir. 2008) (citing United States v. Tortora, 922 F.2d

11   880, 886 (1st Cir. 1990)).                  When conditions are “too easily

12   circumvented or manipulated” and Defendant fails to uphold the

13   inherent “good faith compliance” of the release conditions and

14   the   trust    of   the    Court,     the    conditions     become     ineffective.

15   Defendant has been “given a lot of opportunities” to comply with

16   judicial appearance directives, and notwithstanding his in-court

17   assurances that he will comply, his actions and communications

18   with the Court and Pretrial Services demonstrate his lack of

19   respect for judicial authority and that his in-court assurances

20   “fade[] dramatically once [he is] released from custody.”                      Tr.
21   Initial Appearance June 1, 2017, 11:11–12, ECF No. 346; Aug. 10

22   Tr. at 9:7–8.

23                 Based on review of the evidence that was before the

24   Magistrate      Judge      and       in     light     of    Pretrial      Services’

25   recommendation that Defendant remain in custody, the Magistrate

26   Judge’s finding that Defendant is at risk of non-appearance is
27   correct.      Since Defendant has refused to comply with appearance

28   directives of this Court and Pretrial Services, the Court finds
                                               15
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1    by   a   preponderance   of   the   evidence   that   the   Court   is   not

2    reasonably assured Defendant will appear as directed if he is

3    released.    Therefore, Defendant’s motion for revocation of his

4    detention order is denied.

5    Dated:    November 8, 2017

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